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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.: 19-CV-21148-SCOLA

  BRYAN BOIGRIS,

         Plaintiff,
  v.

  EWC P&T, LLC, a Florida
  limited liability company,

         Defendant.
  _____________________________/

  EWC P&T, LLC,

         Counter-Plaintiff,
  v.

  BRYAN BOIGRIS,

         Counter-Defendant.
  _____________________________/

               PLAINTIFF’S CORRECTED MOTION TO FILE UNDER
                SEAL PLAINTIFF’S RESPONSIVE MATERIALS IN
            OPPOSITION TO EWC’S SEALED MOTIONS AND DOCUMENTS

       Plaintiff, BRYAN BOIGRIS (the “Plaintiff”), by and through undersigned counsel,

  hereby files this CORRECTED Motion To File Under Seal Plaintiff’s Responsive Materials In

  Opposition To EWC’s Sealed Motions And Documents (the “Motion”) (correcting errors and

  replacing Plaintiff’s recently filed Motion to File Under Seal at [ECF 94]), and in support

  thereof states as follows:

       1)    On December 20, 2019, Defendant/Counter-Plaintiff EWC P&T, LLC (“EWC”)

  filed its Unopposed Motion To Seal Motion For Summary Judgment And Statement Of

  Material Facts In Support [ECF 59].

       2)    On December 30, 2019, the Court entered a paperless order granting EWC’s

  Motion to Seal (the “Order”). Specifically, the Order ruled as follows:



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         PAPERLESS ORDER: granting the Defendant EWC P&T, LLC's unopposed motion to
         seal its motion for summary judgment and statement of material facts. [59]. In
         accordance with the parties' stipulated protective order [46], the Defendant is
         permitted to file its motion for summary judgment and statement of material facts in
         support of its motion for summary judgment under seal, which contain sensitive
         business information. The documents shall be maintained under seal for the duration
         of this litigation and any subsequent post-judgment proceedings including the appeal,
         at which time they shall be destroyed.

  See Order at [ECF 61].

       3)     The Order did not rule on Plaintiff’s status with respect to filing responsive

  materials opposing the items filed under seal by ECF, notwithstanding the fact that said

  responsive materials will necessarily reference, cite, and otherwise contain information that

  is presently protected under seal as a result of the Court’s Order. See Order at [ECF 61].

       4)     In an abundance of caution, Plaintiff has submitted the responsive materials to

  opposing counsel, but has not yet filed said materials on CM/ECF out of a reasonable concern

  regarding the protection of EWC’s confidential information that had been filed under seal

  pursuant to the Court’s Order.

       5)     Plaintiff therefore request leave to file said responsive materials under seal. Such

  responsive materials include (i) Plaintiff’s Response to EWC’s Motion for Summary

  Judgment Filed Under Seal and (ii) Plaintiff’s Response to EWC’s Statement of Facts Filed

  Under Seal. The foregoing responsive materials are in response to, or are otherwise related

  to, EWC’s filings under seal and refenced on the Docket as [ECF 62], [ECF 63], [ECF 64], and

  [ECF 65].

       6)     The undersigned recently contacted counsel for EWC to determine if this relief can

  be filed as an unopposed motion. Initially, Plaintiff filed a substantially similar Motion to

  Seal [ECF 94] that indicated that Plaintiff not received a response from EWC. However,

  EWC had emailed Plaintiff right before Plaintiff filed [ECF 94] to indicate that they do agree




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  that Plaintiffs’ responsive materials should be filed under seal, but otherwise reserved all

  other rights in relation to said items to be filed under seal.

          WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff leave to

  file the aforementioned responsive materials, which have been previously sent to opposing

  counsel via email, under seal subject to the same conditions as stated in this Court’s

  December 30, 2019 Order [ECF 61].

  Dated: January 21, 2020.                     Respectfully submitted,

                                               HIRZEL, DREYFUSS & DEMPSEY, PLLC
                                               Counsel for Plaintiff
                                               2333 Brickell Ave, Suite A-1
                                               Miami, Florida 33129-2497
                                               Telephone: (305) 615-1617
                                               Facsimile: (305) 615-1585

                                               By: /s/ Patrick G. Dempsey
                                                      LEON F. HIRZEL
                                                       Florida Bar No. 085966
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                                                       PATRICK G. DEMPSEY
                                                       Florida Bar No. 27676
                                                       dempsey@hddlawfirm.com

                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF

  Notification to all parties registered to receive electronic notice on this 21th day of January,

  2020.

                                               By: /s/ Patrick G. Dempsey
                                                       PATRICK DEMPSEY




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